>G&75B8 -- #FRc' 10(2020$        Case 4:23-cv-03991-JSW                                      Document 1-5                        Filed 08/08/23                 Page 1 of 2
                                                                                   CIVIL COVER SHEET
HUR >G&75B8 -- PVcVY P\cR_ `URRa N[Q aUR V[S\_ZNaV\[ P\[aNV[RQ UR_RV[ [RVaUR_ _R]YNPR [\_ `b]]YRZR[a aUR SVYV[T N[Q `R_cVPR \S ]YRNQV[T` \_ \aUR_ ]N]R_` N` _R^bV_RQ Of YNd%
RePR]a N` ]_\cVQRQ Of Y\PNY _bYR` \S P\b_a' HUV` S\_Z% N]]_\cRQ V[ Va` \_VTV[NY S\_Z Of aUR >bQVPVNY 7\[SR_R[PR \S aUR I[VaRQ GaNaR` V[ GR]aRZOR_ *20-% V` _R^bV_RQ S\_ aUR 7YR_X \S
7\b_a a\ V[VaVNaR aUR PVcVY Q\PXRa `URRa' (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                                   DEFENDANTS
  WalkMe Ltd. and WalkMe, Inc.                                                                                   Whatfix, Inc.
   (b) 7\b[af \S FR`VQR[PR \S :V_`a @V`aRQ DYNV[aVSS               Outside U.S. (Israel)                            7\b[af \S FR`VQR[PR \S :V_`a @V`aRQ 8RSR[QN[a
           (EXCEPT IN U.S. PLAINTIFF CASES)                                                                         (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                    BCH93      =B @5B8 7CB89AB5H=CB 75G9G% IG9 H<9 @C75H=CB C:
                                                                                                                               H<9 HF57H C: @5B8 =BJC@J98'
   (c) 5aa\_[Rf` (Firm Name, Address, and Telephone Number)                                                         5aa\_[Rf` (If Known)
 DLA Piper LLP (US), 2000 University Avenue, East Palo Alto, CA 94303, 650.833.2000, Rajiv Dharnidharka;
 DLA Piper LLP (US), 555 Mission Street, San Francisco, CA 94105, 415.836.2500, Jeanette Barzelay


II.        BASIS OF JURISDICTION (Place an “X” in One Box Only)                                  III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                           (For Diversity Cases Only)                                   and One Box for Defendant)
                                                                                                                                            PTF       DEF                                      PTF      DEF
      *    I'G' ;\cR_[ZR[a DYNV[aVSS         ,    :RQR_NY EbR`aV\[                                     7VaVgR[ \S HUV` GaNaR                  *        *      =[P\_]\_NaRQ or D_V[PV]NY DYNPR      -      -
                                                  (U.S. Government Not a Party)
                                                                                                                                                              \S 6b`V[R`` =[ HUV` GaNaR
                                                                                                       7VaVgR[ \S 5[\aUR_ GaNaR                +        +     =[P\_]\_NaRQ and D_V[PV]NY DYNPR     .       .
      +    I'G' ;\cR_[ZR[a 8RSR[QN[a         -     8VcR_`Vaf                                                                                                  \S 6b`V[R`` =[ 5[\aUR_ GaNaR
                                                 (Indicate Citizenship of Parties in Item III)
                                                                                                       7VaVgR[ \_ GbOWRPa \S N                 ,        ,     :\_RVT[ BNaV\[                       /       /
                                                                                                       :\_RVT[ 7\b[a_f

IV.          NATURE OF SUIT (Place an “X” in One Box Only)
          CONTRACT                                                      TORTS                                      FORFEITURE/PENALTY                     BANKRUPTCY                    OTHER STATUTES
   **) =[`b_N[PR                          PERSONAL INJURY                      PERSONAL INJURY                     /+. 8_bT FRYNaRQ GRVgb_R \S       -++ 5]]RNY +1 IG7 h *.1         ,0. :NY`R 7YNVZ` 5Pa
   *+) AN_V[R                                                                                                          D_\]R_af +* IG7 h 11*         -+, KVaUQ_NdNY +1 IG7           ,0/ EbV HNZ #,* IG7
                                        ,*) 5V_]YN[R                         ,/. DR_`\[NY =[Wb_f i D_\QbPa
   *,) AVYYR_ 5Pa                                                                @VNOVYVaf                         /2) CaUR_                             h *.0                           h ,0+2#N$$
                                        ,*. 5V_]YN[R D_\QbPa @VNOVYVaf
   *-) BRT\aVNOYR =[`a_bZR[a                                                 ,/0 <RNYaU 7N_R(                                LABOR                     PROPERTY RIGHTS               -)) GaNaR FRN]]\_aV\[ZR[a
                                        ,+) 5``NbYa% @VORY " GYN[QR_
   *.) FRP\cR_f \S                                                               DUN_ZNPRbaVPNY DR_`\[NY                                                                             -*) 5[aVa_b`a
                                        ,,) :RQR_NY 9Z]Y\fR_`l                                                      0*) :NV_ @NO\_ GaN[QN_Q` 5Pa     1+) 7\]f_VTUa`
       CcR_]NfZR[a CS                                                            =[Wb_f D_\QbPa @VNOVYVaf                                                                            -,) 6N[X` N[Q 6N[XV[T
                                            @VNOVYVaf                                                               0+) @NO\_(AN[NTRZR[a             1,) DNaR[a
       JRaR_N[l` 6R[RSVa`                                                    ,/1 5`OR`a\` DR_`\[NY =[Wb_f                                                                            -.) 7\ZZR_PR
                                        ,-) AN_V[R                                                                      FRYNaV\[`                    1,. DNaR[an5OO_RcVNaRQ BRd
   *.* ARQVPN_R 5Pa                                                              D_\QbPa @VNOVYVaf
                                        ,-. AN_V[R D_\QbPa @VNOVYVaf                                                0-) FNVYdNf @NO\_ 5Pa                8_bT 5]]YVPNaV\[            -/) 8R]\_aNaV\[
   *.+ FRP\cR_f \S 8RSNbYaRQ                                                 PERSONAL PROPERTY                                                                                       -0) FNPXRaRR_ =[SYbR[PRQ "
                                        ,.) A\a\_ JRUVPYR                                                           0.* :NZVYf N[Q ARQVPNY           1-) H_NQRZN_X
       GabQR[a @\N[` #9ePYbQR`                                               ,0) CaUR_ :_NbQ                                                                                             7\__b]a C_TN[VgNaV\[`
                                        ,.. A\a\_ JRUVPYR D_\QbPa                                                       @RNcR 5Pa                    880 Defend Trade Secrets
       JRaR_N[`$                                                             ,0* H_baU V[ @R[QV[T
                                            @VNOVYVaf                                                               02) CaUR_ @NO\_ @VaVTNaV\[           Act of 2016                 -1) 7\[`bZR_ 7_RQVa
   *., FRP\cR_f \S                                                           ,1) CaUR_ DR_`\[NY D_\]R_af
                                        ,/) CaUR_ DR_`\[NY =[Wb_f                                                   02* 9Z]Y\fRR FRaV_RZR[a                                          -1. HRYR]U\[R 7\[`bZR_
       CcR_]NfZR[a                                                                                                                                    SOCIAL SECURITY
                                                                                 8NZNTR                                 =[P\ZR GRPb_Vaf 5Pa                                              D_\aRPaV\[ 5Pa
    \S JRaR_N[l` 6R[RSVa`               ,/+ DR_`\[NY =[Wb_f &ARQVPNY                                                                                 1/* <=5 #*,2.SS$
                                            ANY]_NPaVPR                      ,1. D_\]R_af 8NZNTR D_\QbPa                                                                             -2) 7NOYR(GNa HJ
   */) Ga\PXU\YQR_`l GbVa`                                                       @VNOVYVaf                                 IMMIGRATION               1/+ 6YNPX @b[T #2+,$            1.) GRPb_VaVR`(7\ZZ\QVaVR`(
   *2) CaUR_ 7\[a_NPa                                                                                               -/+ BNab_NYVgNaV\[               1/, 8=K7(8=KK #-).#T$$              9ePUN[TR
                                             CIVIL RIGHTS                    PRISONER PETITIONS
   *2. 7\[a_NPa D_\QbPa @VNOVYVaf                                                                                       5]]YVPNaV\[                  1/- GG=8 HVaYR LJ=
                                        --) CaUR_ 7VcVY FVTUa`                                                                                                                       12) CaUR_ GaNaba\_f 5PaV\[`
                                                                                HABEAS CORPUS                       -/. CaUR_ =ZZVT_NaV\[
   *2/ :_N[PUV`R                                                                                                                                     1/. FG= #-).#T$$                12* 5T_VPbYab_NY 5Pa`
                                        --* J\aV[T                           -/, 5YVR[ 8RaNV[RR                         5PaV\[`
          REAL PROPERTY                 --+ 9Z]Y\fZR[a                                                                                               FEDERAL TAX SUITS               12, 9[cV_\[ZR[aNY ANaaR_`
                                                                             .*) A\aV\[` a\ JNPNaR
   +*) @N[Q 7\[QRZ[NaV\[                --, <\b`V[T(                             GR[aR[PR                                                            10) HNeR` #I'G' DYNV[aVSS \_    12. :_RRQ\Z \S =[S\_ZNaV\[
                                            5PP\ZZ\QNaV\[`                                                                                               8RSR[QN[a$                      5Pa
   ++) :\_RPY\`b_R                                                           .,) ;R[R_NY
                                        --. 5ZR_' d(8V`NOVYVaVR`i                                                                                    10* =FGiHUV_Q DN_af +/ IG7      12/ 5_OVa_NaV\[
   +,) FR[a @RN`R " 9WRPaZR[a                                                .,. 8RNaU DR[NYaf
                                            9Z]Y\fZR[a                                                                                                    h 0/)2                     122 5QZV[V`a_NaVcR D_\PRQb_R
   +-) H\_a` a\ @N[Q                                                                  OTHER
                                        --/ 5ZR_' d(8V`NOVYVaVR`iCaUR_                                                                                                                   5Pa(FRcVRd \_ 5]]RNY \S
   +-. H\_a D_\QbPa @VNOVYVaf                                                .-) AN[QNZb` " CaUR_                                                                                        5TR[Pf 8RPV`V\[
   +2) 5YY CaUR_ FRNY D_\]R_af          --1 9QbPNaV\[
                                                                             ..) 7VcVY FVTUa`                                                                                        2.) 7\[`aVabaV\[NYVaf \S GaNaR
                                                                             ... D_V`\[ 7\[QVaV\[                                                                                        GaNabaR`
                                                                             ./) 7VcVY 8RaNV[RRi
                                                                                 7\[QVaV\[` \S
                                                                                 7\[SV[RZR[a

V.           ORIGIN (Place an “X” in One Box Only)
      *   C_VTV[NY                 +    FRZ\cRQ S_\Z                ,     FRZN[QRQ S_\Z            -       FRV[`aNaRQ \_       . H_N[`SR__RQ S_\Z              /   AbYaVQV`a_VPa         1 AbYaVQV`a_VPa
          D_\PRRQV[T                    GaNaR 7\b_a                       5]]RYYNaR 7\b_a                  FR\]R[RQ              5[\aUR_ 8V`a_VPa (specify)        @VaVTNaV\[iH_N[`SR_     @VaVTNaV\[i8V_RPa :VYR


VI.          CAUSE OF           7VaR aUR I'G' 7VcVY GaNabaR b[QR_ dUVPU f\b N_R SVYV[T (Do not cite jurisdictional statutes unless diversity)3
                                 Lanham Act, 15 U.S.C. §§ 1114 and 1125(a)
             ACTION
                                6_VRS QR`P_V]aV\[ \S PNb`R3
                                  Infringement of a federally registered trademark, false advertising, unfair competition, deceptive trade practices, induced breach of contract and breach of contract.

VII.         REQUESTED IN                   7<97? =: H<=G =G 5 CLASS ACTION                            DEMAND $ injunctive and monetary relief        7<97? M9G \[Yf VS QRZN[QRQ V[ P\Z]YNV[a3
             COMPLAINT:                     IB89F FI@9 +,% :RQ' F' 7Vc' D'                                                                            JURY DEMAND:             MR`       B\

VIII. RELATED CASE(S),                                     >I8;9                                                            8C7?9H BIA69F
      IF ANY (See instructions):
IX.         DIVISIONAL ASSIGNMENT (Civil Local Rule 3-2)
(Place an “X” in One Box Only)   SAN FRANCISCO/OAKLAND                                                                             SAN JOSE                         EUREKA-MCKINLEYVILLE


DATE 8/8/23                                                SIGNATURE OF ATTORNEY OF RECORD                                                  /s/ Rajiv Dharnidharka
                      Case 4:23-cv-03991-JSW
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             INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS-CAND 44

Authority For Civil Cover Sheet. HUR >G&75B8 -- PVcVY P\cR_ `URRa N[Q aUR V[S\_ZNaV\[ P\[aNV[RQ UR_RV[ [RVaUR_ _R]YNPR` [\_ `b]]YRZR[a` aUR SVYV[T` N[Q
`R_cVPR \S ]YRNQV[T \_ \aUR_ ]N]R_` N` _R^bV_RQ Of YNd% RePR]a N` ]_\cVQRQ Of Y\PNY _bYR` \S P\b_a' HUV` S\_Z% N]]_\cRQ V[ Va` \_VTV[NY S\_Z Of aUR >bQVPVNY
7\[SR_R[PR \S aUR I[VaRQ GaNaR` V[ GR]aRZOR_ *20-% V` _R^bV_RQ S\_ aUR 7YR_X \S 7\b_a a\ V[VaVNaR aUR PVcVY Q\PXRa `URRa' 7\[`R^bR[aYf% N PVcVY P\cR_ `URRa V`
`bOZVaaRQ a\ aUR 7YR_X \S 7\b_a S\_ RNPU PVcVY P\Z]YNV[a SVYRQ' HUR Naa\_[Rf SVYV[T N PN`R `U\bYQ P\Z]YRaR aUR S\_Z N` S\YY\d`3
   I. a) Plaintiffs-Defendants. 9[aR_ [NZR` #YN`a% SV_`a% ZVQQYR V[VaVNY$ \S ]YNV[aVSS N[Q QRSR[QN[a' =S aUR ]YNV[aVSS \_ QRSR[QN[a V` N T\cR_[ZR[a NTR[Pf% b`R
         \[Yf aUR SbYY [NZR \_ `aN[QN_Q NOO_RcVNaV\[`' =S aUR ]YNV[aVSS \_ QRSR[QN[a V` N[ \SSVPVNY dVaUV[ N T\cR_[ZR[a NTR[Pf% VQR[aVSf SV_`a aUR NTR[Pf N[Q
         aUR[ aUR \SSVPVNY% TVcV[T O\aU [NZR N[Q aVaYR'
     b) County of Residence. :\_ RNPU PVcVY PN`R SVYRQ% RePR]a I'G' ]YNV[aVSS PN`R`% R[aR_ aUR [NZR \S aUR P\b[af dUR_R aUR SV_`a YV`aRQ ]YNV[aVSS _R`VQR` Na aUR
        aVZR \S SVYV[T' =[ I'G' ]YNV[aVSS PN`R`% R[aR_ aUR [NZR \S aUR P\b[af V[ dUVPU aUR SV_`a YV`aRQ QRSR[QN[a _R`VQR` Na aUR aVZR \S SVYV[T' #BCH93 =[ YN[Q
        P\[QRZ[NaV\[ PN`R`% aUR P\b[af \S _R`VQR[PR \S aUR jQRSR[QN[ak V` aUR Y\PNaV\[ \S aUR a_NPa \S YN[Q V[c\YcRQ'$
     c) Attorneys. 9[aR_ aUR SV_Z [NZR% NQQ_R``% aRYR]U\[R [bZOR_% N[Q Naa\_[Rf \S _RP\_Q' =S aUR_R N_R `RcR_NY Naa\_[Rf`% YV`a aURZ \[ N[ NaaNPUZR[a% [\aV[T
        V[ aUV` `RPaV\[ j#`RR NaaNPUZR[a$'k
   II.    Jurisdiction. HUR ON`V` \S Wb_V`QVPaV\[ V` `Ra S\_aU b[QR_ :RQR_NY FbYR \S 7VcVY D_\PRQb_R 1#N$% dUVPU _R^bV_R` aUNa Wb_V`QVPaV\[` OR `U\d[ V[
          ]YRNQV[T`' DYNPR N[ jLk V[ \[R \S aUR O\eR`' =S aUR_R V` Z\_R aUN[ \[R ON`V` \S Wb_V`QVPaV\[% ]_RPRQR[PR V` TVcR[ V[ aUR \_QR_ `U\d[ ORY\d'
          #*$ I[VaRQ GaNaR` ]YNV[aVSS' >b_V`QVPaV\[ ON`RQ \[ +1 IG7 hh *,-. N[Q *,-1' GbVa` Of NTR[PVR` N[Q \SSVPR_` \S aUR I[VaRQ GaNaR` N_R V[PYbQRQ UR_R'
          #+$ I[VaRQ GaNaR` QRSR[QN[a' KUR[ aUR ]YNV[aVSS V` `bV[T aUR I[VaRQ GaNaR`% Va` \SSVPR_` \_ NTR[PVR`% ]YNPR N[ jLk V[ aUV` O\e'
          #,$ :RQR_NY ^bR`aV\[' HUV` _RSR_` a\ `bVa` b[QR_ +1 IG7 h *,,*% dUR_R Wb_V`QVPaV\[ N_V`R` b[QR_ aUR 7\[`aVabaV\[ \S aUR I[VaRQ GaNaR`% N[ NZR[QZR[a
              a\ aUR 7\[`aVabaV\[% N[ NPa \S 7\[T_R`` \_ N a_RNaf \S aUR I[VaRQ GaNaR`' =[ PN`R` dUR_R aUR I'G' V` N ]N_af% aUR I'G' ]YNV[aVSS \_ QRSR[QN[a P\QR
              aNXR` ]_RPRQR[PR% N[Q O\e * \_ + `U\bYQ OR ZN_XRQ'
          #-$ 8VcR_`Vaf \S PVaVgR[`UV]' HUV` _RSR_` a\ `bVa` b[QR_ +1 IG7 h *,,+% dUR_R ]N_aVR` N_R PVaVgR[` \S QVSSR_R[a `aNaR`' KUR[ 6\e - V` PURPXRQ% aUR
              PVaVgR[`UV] \S aUR QVSSR_R[a ]N_aVR` Zb`a OR PURPXRQ. #GRR GRPaV\[ === ORY\d4 NOTE: federal question actions take precedence over diversity
              cases.$
   III.   Residence (citizenship) of Principal Parties. HUV` `RPaV\[ \S aUR >G&75B8 -- V` a\ OR P\Z]YRaRQ VS QVcR_`Vaf \S PVaVgR[`UV] dN` V[QVPNaRQ NO\cR'
          AN_X aUV` `RPaV\[ S\_ RNPU ]_V[PV]NY ]N_af'
   IV.    Nature of Suit. DYNPR N[ jLk V[ aUR N]]_\]_VNaR O\e' =S aUR [Nab_R \S `bVa PN[[\a OR QRaR_ZV[RQ% OR `b_R aUR PNb`R \S NPaV\[% V[ GRPaV\[ J= ORY\d% V`
          `bSSVPVR[a a\ R[NOYR aUR QR]baf PYR_X \_ aUR `aNaV`aVPNY PYR_X#`$ V[ aUR 5QZV[V`a_NaVcR CSSVPR a\ QRaR_ZV[R aUR [Nab_R \S `bVa' =S aUR PNb`R SVa` Z\_R aUN[
          \[R [Nab_R \S `bVa% `RYRPa aUR Z\`a QRSV[VaVcR'
   V.     Origin. DYNPR N[ jLk V[ \[R \S aUR `Ve O\eR`'
          #*$ C_VTV[NY D_\PRRQV[T`' 7N`R` \_VTV[NaV[T V[ aUR I[VaRQ GaNaR` QV`a_VPa P\b_a`'
          #+$ FRZ\cRQ S_\Z GaNaR 7\b_a' D_\PRRQV[T` V[VaVNaRQ V[ `aNaR P\b_a` ZNf OR _RZ\cRQ a\ aUR QV`a_VPa P\b_a` b[QR_ HVaYR +1 IG7 h *--*' KUR[ aUR
              ]RaVaV\[ S\_ _RZ\cNY V` T_N[aRQ% PURPX aUV` O\e'
          #,$ FRZN[QRQ S_\Z 5]]RYYNaR 7\b_a' 7URPX aUV` O\e S\_ PN`R` _RZN[QRQ a\ aUR QV`a_VPa P\b_a S\_ Sb_aUR_ NPaV\[' I`R aUR QNaR \S _RZN[Q N` aUR SVYV[T
              QNaR'
          #-$ FRV[`aNaRQ \_ FR\]R[RQ' 7URPX aUV` O\e S\_ PN`R` _RV[`aNaRQ \_ _R\]R[RQ V[ aUR QV`a_VPa P\b_a' I`R aUR _R\]R[V[T QNaR N` aUR SVYV[T QNaR'
          #.$ H_N[`SR__RQ S_\Z 5[\aUR_ 8V`a_VPa' :\_ PN`R` a_N[`SR__RQ b[QR_ HVaYR +1 IG7 h *-)-#N$' 8\ [\a b`R aUV` S\_ dVaUV[ QV`a_VPa a_N[`SR_` \_
              ZbYaVQV`a_VPa YVaVTNaV\[ a_N[`SR_`'
          #/$ AbYaVQV`a_VPa @VaVTNaV\[ H_N[`SR_' 7URPX aUV` O\e dUR[ N ZbYaVQV`a_VPa PN`R V` a_N[`SR__RQ V[a\ aUR QV`a_VPa b[QR_ NbaU\_Vaf \S HVaYR +1 IG7
              h *-)0' KUR[ aUV` O\e V` PURPXRQ% Q\ [\a PURPX #.$ NO\cR'
          #1$ AbYaVQV`a_VPa @VaVTNaV\[ 8V_RPa :VYR' 7URPX aUV` O\e dUR[ N ZbYaVQV`a_VPa YVaVTNaV\[ PN`R V` SVYRQ V[ aUR `NZR QV`a_VPa N` aUR AN`aR_ A8@ Q\PXRa'
          DYRN`R [\aR aUNa aUR_R V` [\ C_VTV[ 7\QR 0' C_VTV[ 7\QR 0 dN` b`RQ S\_ UV`a\_VPNY _RP\_Q` N[Q V` [\ Y\[TR_ _RYRcN[a QbR a\ PUN[TR` V[ `aNabaR'
   VI.    Cause of Action. FR]\_a aUR PVcVY `aNabaR QV_RPaYf _RYNaRQ a\ aUR PNb`R \S NPaV\[ N[Q TVcR N O_VRS QR`P_V]aV\[ \S aUR PNb`R' Do not cite jurisdictional
          statutes unless diversity. 9eNZ]YR3 I'G' 7VcVY GaNabaR3 -0 IG7 h ..,' 6_VRS 8R`P_V]aV\[3 I[NbaU\_VgRQ _RPR]aV\[ \S PNOYR `R_cVPR'
   VII. Requested in Complaint. 7YN`` 5PaV\[' DYNPR N[ jLk V[ aUV` O\e VS f\b N_R SVYV[T N PYN`` NPaV\[ b[QR_ :RQR_NY FbYR \S 7VcVY D_\PRQb_R +,'
          8RZN[Q' =[ aUV` `]NPR R[aR_ aUR NPabNY Q\YYN_ NZ\b[a ORV[T QRZN[QRQ \_ V[QVPNaR \aUR_ QRZN[Q% `bPU N` N ]_RYVZV[N_f V[Wb[PaV\['
          >b_f 8RZN[Q' 7URPX aUR N]]_\]_VNaR O\e a\ V[QVPNaR dURaUR_ \_ [\a N Wb_f V` ORV[T QRZN[QRQ'
   VIII. Related Cases. HUV` `RPaV\[ \S aUR >G&75B8 -- V` b`RQ a\ VQR[aVSf _RYNaRQ ]R[QV[T PN`R`% VS N[f' =S aUR_R N_R _RYNaRQ ]R[QV[T PN`R`% V[`R_a aUR Q\PXRa
         [bZOR_` N[Q aUR P\__R`]\[QV[T WbQTR [NZR` S\_ `bPU PN`R`'
   IX.    Divisional Assignment. =S aUR BNab_R \S GbVa V` b[QR_ D_\]R_af FVTUa` \_ D_V`\[R_ DRaVaV\[` \_ aUR ZNaaR_ V` N GRPb_VaVR` 7YN`` 5PaV\[% YRNcR aUV`
          `RPaV\[ OYN[X' :\_ NYY \aUR_ PN`R`% VQR[aVSf aUR QVcV`V\[NY cR[bR NPP\_QV[T a\ 7VcVY @\PNY FbYR ,&+3 jaUR P\b[af V[ dUVPU N `bO`aN[aVNY ]N_a \S aUR
          RcR[a` \_ \ZV``V\[` dUVPU TVcR _V`R a\ aUR PYNVZ \PPb__RQ \_ V[ dUVPU N `bO`aN[aVNY ]N_a \S aUR ]_\]R_af aUNa V` aUR `bOWRPa \S aUR NPaV\[ V` `VabNaRQ'k
   Date and Attorney Signature. 8NaR N[Q `VT[ aUR PVcVY P\cR_ `URRa'
